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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                  4:09CR3090
                                         )
             V.                          )
                                         )
KEVIN JARZELL MOORE,                     )                     ORDER
                                         )
                   Defendant.            )
                                         )


       IT IS ORDERED that the request for cd/transcript by a non-party (filing 122) is
granted.

      DATED this 20th day of April, 2010.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge
